EXHIBIT #3
                                                                      FILED: 2/2/2022 7:28 PM
                                                                      David Trantham
                                                                      Denton County District Clerk
                                                                      By: Raquel Gonzalez, Deputy
                                               22-1046-431
                               Cause No. _________________


 In re Ashley Maxwell,                          IN THE DISTRICT COURT
                                                DENTON COUNTY, TEXAS
                      Petitioner                 ____ JUDICIAL DISTRICT


         VERIFIED PETITION TO TAKE DEPOSITION TO
                  INVESTIGATE A LAWSUIT
    Petitioner Ashley Maxwell respectfully asks the Court for permission to take a

deposition by oral examination of                    of the North Texas Equal Access

Fund. Ms. Maxwell seeks this testimony to investigate potential claims brought by

Ms. Maxwell or others under section 171.208 of the Texas Health and Safety Code.

          PERSONS TO BE DEPOSED AND JURISDICTION
    1. Petitioner Ashley Maxwell is a citizen of Texas and resident of Hood County.

    2. Ms. Maxwell seeks to depose                      Upon information and belief,

            is a resident of                 and may be served at

                      .                 telephone number is                   .

    3. In accordance with Rule 202.2(b)(2) of the Texas Rules of Civil Procedure,

this petition is filed in Denton County, the county in which               resides.

    4. This petition is verified by Ms. Maxwell, as required by Rule 202.2(a) of the

Texas Rules of Civil Procedure.

                          NATURE OF THE ACTION
    5. This petition is filed to investigate the possibilities for future civil actions

brought under section 171.208 of the Texas Health and Safety Code, against individ-

uals and organizations that performed or aided or abetted abortions in violation of

the Texas Heartbeat Act, also known as Senate Bill 8 or SB 8. In her capacity as exec-

utive director of the North Texas Equal Access Fund (“TEA Fund”),

has stated in a sworn declaration that her organization knowingly and intentionally




rule 202 petition                                                            Page 1 of 10
aided or abetted at least one post-heartbeat abortion in violation of the Texas Heart-

beat Act. See Declaration of                        ¶ 7 (attached as Exhibit 1).

    6.              submitted this sworn declaration in a lawsuit that her organization

brought against Texas Right to Life and its legislative director, John Seago. This law-

suit was originally filed as North Texas Equal Access Fund v. State of Texas, et al., No.

D-1-GN-21-004503 (Travis County), and was transferred by the multidistrict litiga-

tion panel to 98th Judicial District Court of Travis County. Those pre-trial proceed-

ings were conducted under the caption of Van Stean v. State of Texas, et al., No. D-1-

GN-21-004179, and the cases are currently on appeal to the Third Court of Appeals

in Austin. See Texas Right to Life, et al. v. Van Stean, et al., No. 03-21-00650-CV.

    7. North Texas Equal Access Fund (“TEA Fund”) is expected to have infor-

mation relevant to the potential claims that Ms. Maxwell is investigating, and it is

expected to have interests adverse to Ms. Maxwell in any anticipated suit. The TEA

Fund’s mailing address is

                    ; its registered office is at

                           ; and its phone number is                       .

    8.                     is expected to have information relevant to the potential

claims that Ms. Maxwell is investigating, and she is expected to have interests adverse

to Ms. Maxwell in any anticipated suit. On information and belief,                         ad-
dress is                                                 , and her phone number is

           .

    9. Additional parties are expected to have information relevant to the potential

claims that Ms. Maxwell is investigating, as well as interests adverse to Ms. Maxwell’s

in any anticipated suit, but the identities of those parties are currently unknown.

           sworn declaration states that the TEA Fund aided or abetted the provision

of at least one post-heartbeat abortion performed in Texas. But                         decla-

ration does not say who provided those post-heartbeat abortions, nor does it identify


rule 202 petition                                                                  Page 2 of 10
the individuals who aided or abetted these illegal abortions. Ms. Maxwell’s goal is to

use the deposition sought by this petition to ascertain the identity of all individuals

and organizations who are subject to liability under section 171.208.

                        NOTICE OF RELATED CASES
    10. There are no ongoing cases between Ms. Maxwell and

There are also no ongoing cases between Ms. Maxwell and TEA Fund.

    11. There are several ongoing cases that seek to restrain state officials and private

individuals from enforcing certain provisions in SB 8. One of those cases is Whole

Woman’s Health v. Jackson, in which the plaintiffs are attempting to enjoin state li-
censing authorities from taking adverse action against abortion providers and medical

professionals that violate the Texas Heartbeat Act. That case is currently pending in

the U.S. Court of Appeals for the Fifth Circuit, after a remand from the Supreme

Court of the United States. See Whole Woman’s Health v. Jackson, No. 21-50792 (5th

Cir.); see also Whole Woman’s Health v. Jackson, 142 S. Ct. 522 (2021). On January

17, 2022, the Fifth Circuit certified a state-law question to the Supreme Court of

Texas. See Whole Woman’s Health v. Jackson, --- F.4th ----, 2022 WL 142193 (5th

Cir.). Those certification proceedings remain pending in the state supreme court.

    12. A coalition of abortion providers and abortion funds has also filed suit in
state court to restrain Texas Right to Life and its legislative director, John Seago, from

initiating lawsuits against them under section 171.208 of the Texas Health and Safety

Code. The district judge in those cases denied the defendants’ motion to dismiss un-

der the Texas Citizens Participation Act, and the defendants have taken an interlocu-

tory appeal from that ruling. That appeal is currently pending in the Third Court of

Appeals. See Texas Right to Life v. Van Stean, No. 03-21-00650-CV.




rule 202 petition                                                             Page 3 of 10
                                 BACKGROUND
     13. The Texas Heartbeat Act, also known as SB 8, outlaws abortion after a fetal

heartbeat is detectable. See Tex. Health & Safety Code § 171.204.

     14. SB 8 prohibits state officials from enforcing the law. See Tex. Health & Safety

Code § 171.207. Instead of public enforcement by state officials, SB 8 establishes a

private right of action that authorizes individuals to sue those who violate the statute.

See Tex. Health & Safety Code § 171.208. These private civil-enforcement suits may

be brought against anyone who “performs or induces” a post-heartbeat abortion, see

id. at § 171.208(a)(1), as well as anyone who “knowingly engages in conduct that

aids or abets the performance or inducement of an abortion, including paying for or

reimbursing the costs of an abortion through insurance or otherwise, if the abortion

is performed or induced in violation of [SB 8],” id. at § 171.208(a)(2). Lawsuits may

also be brought against anyone who “intends” to perform or aid or abet a post-heart-

beat abortion in Texas.

     15. A plaintiff who successfully sues an individual or organization under section

171.208 is entitled to injunctive relief and $10,000 in statutory damages for each

unlawful abortion that the defendant performed or facilitated, plus costs and attor-

neys’ fees. See Tex. Health & Safety Code § 171.208(b).

     16. The Texas Heartbeat Act took effect on September 1, 2021, and it has re-

mained in effect as the law of Texas since that time.

     17. The person that Ms. Maxwell seeks to depose is the leader of an organization

that helps women in Texas abort their unborn children.                       is executive

director of the North Texas Equal Access Fund (“TEA Fund”). She is “responsible

for executing TEA Fund’s mission, protecting the organization’s financial health, and

supervising staff and volunteers.”          Decl. ¶ 3 (attached as Exhibit 1).

     18. The TEA Fund aids or abets abortion in Texas through a variety of means.

As               explained in a sworn statement, the TEA Fund “provides financial,



rule 202 petition                                                            Page 4 of 10
emotional, and logistical support for low-income abortion patients in north Texas.”

          Decl. ¶ 4 (attached as Exhibit 1).

    19. Most of the abortions that the TEA Fund aids or abets occur after a fetal

heartbeat is detectable.           Decl. ¶ 4 (attached as Exhibit 1).

    20. Since the Texas Heartbeat Act took effect on September 1, 2021, the TEA

Fund has aided or abetted at least one post-heartbeat abortion in violation of the law.

In her sworn declaration,                 stated:

       TEA Fund has engaged in conduct with the intent to assist pregnant
       Texans obtain abortions after the detection of cardiac activity. Specifi-
       cally, following the entry of an injunction by the Honorable Robert
       Pitman on October 6, 2021, and while that injunction was still in place,
       TEA Fund paid for at least one abortion after confirming the gesta-
       tional age of the fetus was beyond the time when cardiac activity is usu-
       ally detected. In doing so, it was TEA Fund’s intention to pay for the
       abortion even if cardiac activity was detected.
          Decl. ¶ 7 (attached as Exhibit 1).

    21.                    sworn declaration also states that the TEA Fund “partner[s]

with” several abortion providers in northern Texas. This includes “clinics that have

publicly confirmed that post-cardiac activity abortions were performed” in violation

of the Texas Heartbeat Act.             Decl. ¶ 8 (attached as Exhibit 1).

                           REQUEST FOR DEPOSITION
    22. Ms. Maxwell seeks a court order authorizing her to depose                     be-

cause she seeks to investigate potential claims that she or others might bring under

section 171.208 of the Texas Health and Safety Code, against any person or organi-

zation that performed or aided or abetted illegal post-heartbeat abortions of the type

described in                  declaration. See Tex. R. Civ. P. 202(d)(2).

    23. Ms. Maxwell additionally seeks to depose                  because she anticipates

the institution of a suit in which                  or the TEA Fund may be a party. See

Tex. R. Civ. P. 202(d)(1).




rule 202 petition                                                             Page 5 of 10
    24. There is good reason for this court to find that deposing                    at this

time is the best way to avoid a delay or failure of justice in an anticipated suit. See Tex.

R. Civ. P. 202.4(a). In addition, the likely benefit of allowing Ms. Maxwell to depose

             to investigate a potential claim outweighs the burden or expense of the

procedure. See Tex. R. Civ. P. 202.4(b).

    25. Ms. Maxwell is considering whether to sue individuals and organizations that

performed or facilitated the illegal abortions described in                    declaration.

The sworn statement of                   makes it clear that the TEA Fund has violated

the Texas Heartbeat Act in a manner that could expose its employees, volunteers, and

donors to liability under section 171.208 of the Texas Health and Safety Code.

    26. Yet Ms. Maxwell is unwilling to file suit as this time because she is still inves-

tigating the range of potential defendants, as well as any possible defenses or substan-

tive arguments that they might raise in the litigation. Ms. Maxwell expects to be able

to better evaluate the prospects for legal success after deposing                  and dis-

covering the extent of involvement of each individual that aided or abetted post-heart-

beat abortions in violation of SB 8.

    27. Ms. Maxwell also wishes to preserve evidence of how the TEA Fund aided

or abetted abortions in violation of SB 8, as well as evidence surrounding the involve-

ment of each individual who aided or abetted these illegal abortions. Ms. Maxwell
seeks to depose                on topics including the following: the TEA Fund’s exact

role in supporting, funding, and facilitating abortions provided in violation of the

Texas Heartbeat Act; the identity of each individual or entity that the TEA Fund

collaborated with in providing these illegal abortions; the number of illegal abortions

provided; whether the TEA Fund has in any way distinguished its funding streams for

advocacy and its funding streams for conduct that aids or abets illegal abortions per-

formed in Texas; and the sources of financial support for the TEA Fund. Ms. Maxwell




rule 202 petition                                                               Page 6 of 10
also seeks discovery of documents1 that reveal the sources of funding for the TEA

Fund’s operations and address the issues that will be covered in the deposition.

    28. Deposing                      allows Ms. Maxwell to preserve evidence of great

importance to the anticipated litigation.                  sworn declaration already at-

tests to her knowledge of violations of the law. What Ms. Maxwell does not know is

how many violations occurred and what other parties were involved in providing these

illegal abortions. The value of this information to any subsequent litigation, and to

the important policies embodied in the Heartbeat Act, is high. It is, indeed, essential

to be able to implement the law.

    29. Delay in obtaining this evidence increases the chances that information about

the abortions provided will be forgotten and that documentation will become more

difficult to obtain. Given the widespread press coverage of the Texas Heartbeat Act,

including attention to the risks taken by abortion providers who choose to violate the




1. The scope of a pre-suit deposition under Rule 202 is the same as a regular depo-
   sition of non-parties in litigation. See Tex. R. Civ. P. 202.5. This specifically allows
   document-production requests. See Tex. R. Civ. P. 199.2(b)(5) (providing for re-
   quests for production along with a deposition notice); Tex. R. Civ. P. 205.1(c)
   (providing for noticing document production requests to nonparties); In re City
   of Tatum, 567 S.W.3d 800, 808 (Tex. App. 2018) (“The “language of these rules
   when read together permits a petition seeking a pre-suit deposition under Rule
   202 to also request the production of documents.’” quoting In re Anand, No.
   01-12-01106-CV, 2013 WL 1316436, at *3 (Tex. App. Apr. 2, 2013)). See also
   City of Dallas v. City of Corsicana, No. 10-14-00090-CV, 2015 WL 4985935, at
   *6 (Tex. App. Aug. 20, 2015) (“Under rule 202, documents can be requested in
   connection with a deposition.”). While some courts have refused to permit docu-
   ment discovery under Rule 202, see, e.g., In re Pickrell, No. 10-17-00091-CV,
   2017 WL 1452851, at *6 (Tex. App. Apr. 19, 2017), they have not analyzed the
   text of Rule 202.5 or its relationship to Rule 199. See In re City of Tatum, 567
   S.W.3d 800, 808 n. 7 (Tex. App. 2018) (criticizing courts denying document pro-
   duction under Rule 202).


rule 202 petition                                                              Page 7 of 10
Act’s provisions,2 there is considerable incentive for violators to hide or obscure any

record of their involvement in unlawful activities.

    30. Without the documentation, there would be a risk of miscarriage or delay of

justice, as the law of Texas would be difficult or impossible to enforce. The policy of

the state will be thwarted if it is not possible to identify the parties complicit in provid-

ing illegal abortions.

    31. It would also enhance judicial efficiency to allow the eventual lawsuit to con-

sider the entire chain of events (from funding to actual performance of the abortion)

involved in the particular violations of SB 8 that                 described in her sworn

statement. Waiting for discovery in the course of litigation not only runs increased

risks of forgetfulness or record-keeping deficiencies. It also has costs to the admin-

istration of justice in that the courts would have to adjudicate the matters either in

separate proceedings, or through complaints successively amended to add additional

defendants. Allowing deposition under Rule 202 would avoid this delay of justice.

    32. The burden on                     is modest. To be sure, she must appear for a

deposition and must produce documents. But the inconvenience will only grow

greater with any delay, as memories fade and documents accumulate. The value of the

information sought outweighs the burden, as required by Rule 202.

    33. Ms. Maxwell seeks to depose                    by oral deposition. See Tex. R. Civ.
P. 199. A notice of deposition identifying the topics for examination is attached to

this Petition as Exhibit 2. This procedure will impose a minimal burden on

    while permitting Ms. Maxwell to preserve for future litigation information about

the illegal abortions that               has acknowledged.




2. See, e.g., Abigail Abrams, Inside The Small Group of Doctors Who Risked Everything
   to Provide Abortions in Texas, Time (Oct. 14, 2021), available at
   https://bit.ly/3qxa5qx.


rule 202 petition                                                                Page 8 of 10
    34. Ms. Maxwell further requests that the court order                to produce at

or before the deposition any and all non-privileged documents relating to: TEA

Fund’s role in supporting, funding, and facilitating abortions provided in violation of

the Texas Heartbeat Act; the identity of all individuals or entities that the TEA Fund

collaborated with in providing these illegal abortions; the number of post-heartbeat

abortions provided in Texas since September 1, 2021; and the sources of financial

support for the TEA Fund’s abortion-assistance activities.

                          REQUEST FOR HEARING
    35. After the service of this petition and a notice of hearing, Ms. Maxwell re-
spectfully requests that the court conduct a hearing, in accordance with Rule 202.3(a)

of the Texas Rules of Civil Procedure, to determine whether to issue an order allowing

the deposition.

                            REQUEST FOR RELIEF
    36. For these reasons, Ms. Maxwell respectfully requests that the court set a date

for a hearing on this petition, and thereafter issue an order:

           a. finding that the benefits of a deposition and accompanying production
              of documents outweighs the burden;

           b. finding that a deposition and accompanying production of documents
              will avoid delay or failure of justice;

           c. authorizing Ms. Maxwell to take an oral deposition of                ;

           d. requiring               to produce the documents identified by this pe-
              tition, at a time and place to be agreed by the parties; and

           e. awarding all other relief that the Court may deem just, proper, or eq-
              uitable.




rule 202 petition                                                           Page 9 of 10
                                      Respectfully submitted.

                                       /s/ Jonathan F. Mitchell
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* pro hac vice applications
  forthcoming

Dated: February 2, 2022               Counsel for Petitioner




rule 202 petition                                                Page 10 of 10
